Case 3:20-cv-12403-RHC-APP ECF No. 13, PageID.391 Filed 01/12/21 Page 1 of 1




                                              UNITED STATES DISTRICT COURT
                                          FOR THE EASTERN DISTRICT OF MICHIGAN
                                                   SOUTHERN DIVISION


FRANK J. FISHER,

            Plaintiff,

v.                                                                                    Case No. 20-12403

MICHELLE M. PERRON,

     Defendant.
____________________________________________/

                                                                    JUDGMENT

            Pursuant to the court’s Opinion and Order dated January 12, 2021,

            IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

Defendant Michelle M. Perron and against Plaintiff Frank Fisher. Dated at Port Huron,

Michigan this 12th day of January, 2021.

                                                                          KINIKIA ESSIX
                                                                          CLERK OF THE COURT

                                                                          BY: s/Lisa Wagner
Dated: January 12, 2021

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 12, 2021, by electronic and/or ordinary mail.

                                                             s/Lisa Wagner_______________________________/
                                                             Case Manager and Deputy Clerk
                                                             (810) 292-6522
S:\Cleland\Cleland\AAB\Opinions and Orders\Civil\20-12403.FISHER.judgment.AAB.docx
